EXHIBIT A

Case 2:18-cV-01921-PP Filed 12/06/18 Page 1 of 3 Document 1-1

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270 Sp§zgnoi§ Ro§ad, Suite 110, l\/ielvii§e, NY ”§1?’47
866~486-»2424 EXT-"i §528
§D# ?828 8061 11SG,TYPE»NUW

Da€€: OCTOBEF€ BG, 2013

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ANNE 0 B¢;>YLE I§
wo@gg 4320 3 71§:§¥” ST AF§T 3

» w , *'? ,
MKLWAUKEE W! 53220 3»$5§ AMOUNT DUE: $5~53

Dear Anne O'B§)y€e:

You§ fai§ua*e icc reso!ve this matter Wiih mar miami PUELE&SHERS €;LEARENG HOUSE,. h§§§; §"§§Suii;§zd ih yc)ur
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the monies owed ts our c§ient. W§§ are very gof)d at §F;, and pur§§u@ paym§n§ ci§§§g@mly,

_This is ap at’§empt m called a debt and any info§mati¢;m abiain®d W§i§ be used for that purpr§§ze, Thi:=.-

commumcatmn is fmm adam co!§@c:tor“ If resp@nding Wéth full p§§yment, mak§: your chesk‘payable: tc) NC>WTH
SHORE AGENCY and mai! in the en<;§§)sed enve|ope.

Order Nu bar Pr§§duc§
409 , L.l\/‘|NCB

Orde§ Amczunt Du§§

$5,53
CC}U Y GARUENS

 

 

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NQRTH SHORE AGENCY-N§JW

 

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iNiPORTANT iNFORMATiON

We are required under applioahie iaw to notify consumers of the following; this is not intended ne a compiete list of
the rights consumers have under locai, state and federal law:

Unlese you notify this office \ivithin 30 daye etter receipt of this notice that you dispute the ueiidity of this debtor any portion
thereof this oihce Wiii assume this debt ic valid if you notify this office in turning vvithin 30 days utter receipt of this notice
that you dispute the validity of this debtor any portion thereof, this office Wiii obtain verihcotion of the debt or obtain a copy
of a judgment and mail you a copy of such judgment or verification lt you request this office in writing within 39 days after
receipt of this notice thie office wiii provide you with the home and address oi the originei creditor, if different from the
current creditori

Thie is an attempt to collect a debt Any information obtained Wiii be used for that purpose This is a communication from a
debt collector. Cails to or horn this company may be monitored or recorded

Ofiioe Hours: |Vtonday - Fr‘iday 9 etm. ~ 4 p.mt ET

You they correspond with our office by meii, emeii or text

high ~ i-’.Oa Box 9221, Oid Bethpege, NY 11804; Ernaii ~ oustomorcure@northshoreogency.biz; fog ~ 631~5?4-4660.
Please include e copy of North Shore Agenoy iotter or coupon, or your complete account information iri/ith eli
communicatione.

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and Collomon l’mEu$s.`\omk

 

Case 2:18-cV-01921-PP Filed 12/06/18 Page 3 of 3 Document 1-1

 

